






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. AP-76,003




EX PARTE DALE EDWARD STIVERS, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 905487 IN THE 182ND DISTRICT COURT
FROM HARRIS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of aggravated
kidnapping and sentenced to eight years’ imprisonment. He did not appeal his conviction. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends, among other things, that his plea was rendered involuntary because he
was not admonished that he would have to register as a sex offender. Tex. Code Crim. Proc. art.
26.13(a)(5). We remanded this application to the trial court for findings of fact and conclusions of
law. On remand, the trial court found that Applicant was not aware when he pleaded guilty that he
would have to register as a sex offender and that had he known that he would have to register, he
would not have pleaded guilty but instead insisted on a trial. The trial court concluded that
Applicant’s plea was rendered involuntary.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We agree. Accordingly, the judgment in Cause No. 905847 in the 182nd Judicial District
Court of Harris County is set aside, and Applicant is remanded to the custody of the Sheriff of Harris
County to answer the charges against him.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Copies of this opinion shall be sent to the Texas Department of Criminal Justice–Correctional
Institutions Division and Pardons and Paroles Division.
&nbsp;
Delivered: September 24, 2008
Do Not Publish


